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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )      CRIMINAL NO. 06-00080 (02) SOM
                              )
               Plaintiff,     )
                              )      ORDER REGARDING USE OF
          vs.                 )      PRIVILEGED INFORMATION AS
                              )      REBUTTAL EVIDENCE AT TRIAL
RODNEY JOSEPH, JR.,   (02)    )
                              )
                              )
               Defendant.     )
_____________________________ )

                 ORDER REGARDING USE OF PRIVILEGED
             INFORMATION AS REBUTTAL EVIDENCE AT TRIAL

          Defendant Rodney Joseph has moved to suppress a

statement he provided to law enforcement concerning murders

occurring at the Pali Golf Course in January 2004.              Among the

bases of the motion to suppress is Joseph’s claim that his former

attorney was ineffective in advising him in connection with the

making of the statement.       This court has previously ruled that,

by making this argument, Joseph waives the attorney-client

privilege with respect to all matters in which he claims his

former attorney was ineffective.       United States v. Joseph, 2007

WL 3254850, at *2 (D. Haw. Oct. 30, 2007).         Knowing that he has

been deemed to waive the privilege, Joseph has elected to proceed

with the argument, and the Government has been allowed to

interview Joseph’s former counsel.       A further hearing on the

matter is set for January 10, 2008.

          While awaiting further briefing by the parties, this

court withdrew its earlier ruling that privileged information
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could not be used at trial in the Government’s case-in-chief but

could be used in impeachment or rebuttal if the defense presented

evidence contrary to the evidence presented during the

suppression hearing.    United States v. Joseph, 2007 WL 4554026,

at *1 (D. Haw. Dec. 27, 2007).     At a hearing on December 27,

2007, this court told the attorneys and parties before it that

the court would notify them by January 8, 2008, whether the court

would allow the Government to use as rebuttal evidence at trial

information that the Government obtained through the court-

ordered waiver of the attorney-client privilege.          While the

Government concedes that it may not use the privileged

information in its case-in-chief, the Government urges the court

to reinstate its earlier ruling permitting trial use of

privileged material for impeachment or rebuttal.          Joseph urges

the court to rule that the privileged information may be used

only in connection with the suppression motion.

           The court is hampered by the paucity of law on the

issue.   The closest authority the court and the parties have

found is Bittaker v. Woodford, 331 F.3d 715 (9th Cir. 2003).             In

that case, the Ninth Circuit affirmed a district court’s

discovery order in a federal habeas case that challenged a

California state court conviction for multiple murders, and a

death sentence.   The petitioner asserted ineffective assistance

of counsel, and the district court ruled that discovery of trial


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counsel’s files and depositions of trial counsel could proceed,

but that the privileged information could only be used in

litigating the federal habeas petition.       The material could not

be shared without leave of court with law enforcement or

attorneys beyond those litigating the habeas petition and could

not be used in any retrial that might result if the habeas

petition were granted.    The district court said that either party

could seek modification of the order after the entry of final

judgment in the habeas proceeding.      The state appealed the

discovery order, and the Ninth Circuit, concluding that the order

was appealable, affirmed.

           The Ninth Circuit said:

           If a prisoner is successful in persuading a
           federal court to grant the writ, the court
           should aim to restore him to the position he
           would have occupied, had the first trial been
           constitutionally error-free. Giving the
           prosecution the advantage of obtaining the
           defense casefile–and possibly even forcing
           the first lawyer to testify against the
           client during the second trial–would
           assuredly not put the parties back at the
           same starting gate.

Id. at 722-23.   This court is grateful for the guidance provided

by Bittaker and endeavors here to apply the overarching principle

that the defendant should be restored to the position he would

have had if he had had the benefit of all his constitutional

rights.   But see Fears v. Bagley, 2003 WL 23770605, at *3 (S.D.

Ohio Aug. 9, 2003)(“The Ninth Circuit cites no authority and


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gives no reasoning to support its goal of restoring the

petitioner to where he was before the first trial.”).

          The court only wishes that it had appellate guidance in

the form of a case closer to the situation before this court.

Bittaker was decided in the context of a discovery limitation.                A

limitation on use of discovery raises issues different from a

limitation on use of evidence that is placed in the public case

record, and that, given the notoriety of a case, might be widely

disseminated in news reports.     It was perhaps with that

consideration (along with the thought that evidence might develop

that would affect the court’s ruling) that the district court in

that case expressly recognized that a modification of the

restriction might become appropriate as the case developed.

Bittaker, 331 F.3d at 717 n.1.     By contrast, the case now before

this court involves evidence that will be presented in open court

at an evidentiary hearing.

          But that distinguishing feature is not determinative

for this court.   After all, every day courts rule that highly

sensational information is inadmissible.       Such information may or

may not be disclosed in public filings or in open court, but that

is a matter wholly separate from a decision on whether such

information should be presented at a trial.        A decision on

limiting access to evidence is not the same as a decision on

admissibility of evidence.


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          It is a second distinguishing feature about Bittaker

that is more troublesome for this court.       The Ninth Circuit was

faced in Bittaker with the possibility that privileged

information might be offered in a retrial that would occur only

if the habeas petition were granted.      That is, if no

constitutional error were found to have infected the original

state court trial, the privileged information would not be

relevant in future proceedings between the parties.            Thus, the

Ninth Circuit only had to speak to the situation in which there

had been ineffective assistance of counsel or some equivalent

flaw in the prior proceedings.     For that reason, the Ninth

Circuit spoke of restoring the petitioner to the position he

would have occupied had there been no such flaw.

          By contrast, in the present case, whether this court

finds that Joseph had ineffective assistance of counsel or not,

there will be further proceedings in this case to which the

privileged information is highly likely to be relevant.            If

Joseph had ineffective assistance of counsel, then this court,

extending Bittaker, should restore Joseph to the position he

would have occupied absent ineffective assistance of counsel.                 In

that event, it appears to this court that the reasoning of

Bittaker counsels this court to bar any use of privileged

information at trial, including for impeachment or rebuttal




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purposes, in much the same way that privileged information was

barred at retrial in Bittaker.

          If, however, this court, having received privileged

information during the suppression proceedings, determines that

Joseph’s ineffective assistance of counsel claim lacks merit,

then the Bittaker model of restoration of position is inapt.             If

Joseph was not the victim of ineffective assistance of counsel,

then there is not the same rationale for unwinding the privilege

waiver and treating the privileged material as if it had never

been disclosed.   If a court completely bars use of the privileged

material after denying a motion to suppress, the court risks

placing a defendant in a better position than he was in before he

waived his privilege.    That is, a defendant could claim

ineffective assistance of counsel, be deemed to have waived the

attorney-client privilege, lose the suppression motion, then

present evidence in complete contradiction to the privileged

information presented during suppression hearings, all the while

secure in the knowledge that such contradictory evidence could

not be rebutted by the Government.       This could serve as an

invitation to present a very weak ineffective assistance of

counsel claim for the very purpose of immunizing oneself at trial

while presenting false evidence.       Of course, this court has no

basis for thinking that Joseph would actually present perjured

testimony, and the court is certainly not here suggesting that


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Joseph would do that.    But, in making the present ruling, the

court has to envision a myriad of hypothetical situations

precisely because the court cannot know what will occur at trial.

           The court recognizes that the same possibility of false

evidence exists if the court finds ineffective assistance of

counsel, suppresses evidence, and then bars any use of privileged

material, even in impeachment and rebuttal.        But at least false

evidence could be presented in that instance only if a defendant

established ineffective assistance of counsel, not an easy task

at all.   That is, the “immunity” from impeachment or rebuttal

would not have resulted from a contrived ineffective assistance

of counsel claim, as could conceivably be the case with an

unsuccessful ineffective assistance of counsel claim.

           The court is not discounting the very real possibility

(and, indeed, the probability) that any ineffective assistance of

counsel claim in the present case is made in good faith and could

not reasonably be considered contrived, regardless of whether it

is successful or not.    The court is well aware that, in the

companion state court case, the state court judge, after finding

no waiver of the attorney-client privilege in connection with

Joseph’s ineffective assistance of counsel claim (a ruling

affirmed by the Hawaii Supreme Court), found on the record before

the state court that there had indeed been ineffective assistance

of counsel.   State v. Joseph, 109 Haw. 482, 488-93, 128 P.3d 795,


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801-06 (Haw. 2006) (laying out the findings of fact and the

conclusions of law as determined by the state trial court).               This

court, having not yet heard the evidence relating to Joseph’s

ineffective assistance of counsel claim, cannot predict whether

it will reach the same or a different result.          Obviously, the

record before this court, given the waiver ordered by this court,

will be different from the evidence before the state court.               The

court mentions this by way of acknowledging that it has no reason

to ascribe any bad motive to the moving party here.             But the

court still has to prepare for the worst case scenario.

          Bittaker does not speak to the difference between use

of privileged information in a prosecution case and use for

impeachment or rebuttal because Bittaker had to address the issue

only in the context of a ruling that there had indeed been

ineffective assistance of counsel.       This court has more

possibilities before it.       This court rules that, if it finds

ineffective assistance of counsel and suppresses Joseph’s

statement as a result, privileged information may not be used at

all by the Government in any part of the trial.           However, if the

court does not find ineffective assistance of counsel and does

not base its suppression ruling on such a finding, then the

Government may not use privileged information in its case in

chief but may use it for impeachment or in rebuttal.




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          In making this ruling, the court recognizes that it is

putting Joseph to a difficult choice.         Certainly, Joseph is

entitled to claim ineffective assistance of counsel.            Bittaker

recognized the danger in making a defendant choose between

vindicating his right to effective assistance of counsel and his

right to a fair trial in which he retains the attorney-client

privilege.   Id. at 723.   This court is trying to fashion a ruling

that is fair to both sides in this case by separating the

Government’s case-in-chief from impeachment and rebuttal.

          Separating the admissibility for impeachment and

rebuttal from the admissibility in a prosecution case is routine

in suppression rulings that do not involve privileged

information.   That is, courts have held, outside the privilege

context, that, even when a defendant’s statement is suppressed

based on a constitutional violation, it is still admissible for

impeachment or rebuttal if the defense offers evidence contrary

to the statement.    See, e.g., Mincey v. Arizona, 437 U.S. 385,

397-98 (1978) (noting that statements taken in violation of the

Fifth Amendment Miranda right are admissible for impeachment

purposes if the statement is reliable); Harris v. New York, 401

U.S. 222, 225-26 (1971) (holding that the Fifth Amendment right

against self-incrimination does not preclude the use of evidence

obtained in violation of Miranda for impeachment purposes);

Pollard v. Galaza, 290 F.3d 1030, 1033 (9th Cir. 2002) (“Although


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a statement, taken in violation of [a defendant’s Fifth Amendment

rights], may not be used substantively in the prosecution’s case-

in-chief, such a statement, if voluntary, may be used for

impeachment should the Defendant choose to testify

inconsistently.”).   It is thus not a far stretch for this court

to rule that if a statement is not suppressed, it may be used for

impeachment or rebuttal purposes.      Such a ruling offers more

protection in the privilege context than is available to a

defendant in other contexts that allow impeachment or rebuttal

use when a statement is suppressed.

          The parties are invited to consider whether, like the

discovery order in Bittaker, this order is immediately

appealable.   See United States v. Howard, 480 F.3d 1005, 1011

(9th Cir. 2007) (applying the collateral order doctrine in an

appeal in a criminal case); see also Flanagan v. United States,

465 U.S. 259, 266 (1984) (noting that the Court has applied the

collateral order doctrine with the “utmost strictness” in

criminal cases).




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            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, January 8, 2008.




                               /s/ Susan Oki Mollway
                              Susan Oki Mollway
                              United States District Judge




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